             Case 1:17-cr-02558-MV Document 29 Filed 10/25/18 Page 1 of 4



                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                     )
                                              )
                Plaintiff,                    )       CRIMINAL NO. 17-2558-MV
                                              )
       vs.                                    )
                                              )
ARTHUR PERRAULT,                              )
                                              )
                Defendant.                    )

          UNITED STATES’ UNOPPOSED MOTION IN LIMINE
           TO PRECLUDE DEFENDANT FROM INFORMING
            THE JURY OF HIS POTENTIAL PUNISHMENT,
   INCLUDING THE MAXIMUM SENTENCES AUTHORIZED BY STATUTE

       The United States respectfully moves the Court, for an order, in limine, prohibiting the

Defendant, Arthur Perrault (hereinafter, “Defendant”) from offering evidence of, mentioning, or

otherwise putting forth, in any manner, in the jury's presence, any evidence or statements

regarding Defendant’s potential punishment in this case, including the maximum sentences

authorized by statute.

       On or about September 21, 2017, a grand jury in the District of New Mexico returned

an indictment, Doc. 2, charging Defendants with six counts of aggravated sexual abuse, in

violation of 18 U.S.C. § 2241(c), and one count of abusive sexual contact, in violation of 18

U.S.C. § 2244(a)(5). Defendant was arraigned on the indictment in the United States District

Court for the District of New Mexico on September 21, 2018. See Doc. 13. Trial in this matter

is scheduled for November 26, 2018.

       Defendant face the following maximum sentence if convicted of violating 18 U.S.C. §§

2241(c), as charged in the indictment:
                Case 1:17-cr-02558-MV Document 29 Filed 10/25/18 Page 2 of 4



           a)       Imprisonment for any term of years to life; 1
           b)       a fine not to exceed $250,000; and
           c)       a term of supervised release of no more than five years.

           Defendant faces the following maximum sentence if convicted of violating 18 U.S.C. §§

2244(a)(5):

           a.       Imprisonment for a term of no more than ten years;
           b.       a fine not to exceed $250,000; and
           c.       a term of supervised release of no more than five years.

           This Court should prohibit Defendant from informing the jury of the potential

punishment he faces, including these maximum statutory penalties. Tenth Circuit Criminal

Pattern Jury Instruction 1.04 advises jurors, in pertinent part, “It is . . . your duty to base your

verdict solely upon the evidence, without prejudice or sympathy.” Instruction 1.20 further states,

“If you find the defendant guilty, it will be my duty [as the judge] to decide what the punishment

will be. You should not discuss or consider the possible punishment in any way while deciding

your verdict.”

           Based on these jury instructions, it is entirely improper for the jury in Defendant’s case to

consider his potential punishment, including the maximum statutory penalties, as determining

punishment is exclusively the responsibility of the trial court.

           Moreover, Defendants should not be permitted to argue that the jury should hear about

his potential punishment because a jury has a right to nullify if it believes the sentence authorized

by law is unduly harsh. Simply stated, “[T]here is no right to jury nullification.” Crease v.

McKune, 189 F.3d 1188, 1194 (10th Cir. 1999) citing United States v. Thomas, 116 F.3d 606,

615 (2d Cir. 1997)(stating “the power of juries to ‘nullify’ or exercise a power of lenity is just

that - a power; it is by no means a right or something that a judge should encourage or permit if it



1
    These are the penalties applicable at the time of Defendant’s offenses.

                                                             2
              Case 1:17-cr-02558-MV Document 29 Filed 10/25/18 Page 3 of 4



is within [the Court’s] authority to prevent.”). Further, there is a bright line rule that a jury should

not be informed of a defendant’s possible penalties unless a statute specifically requires the

jury’s participation in determining punishment, such an in a death penalty case. United States v.

Jones, 933 F.2d 807, 811 (10th Cir. 1991); Chapman v. United States, 443 F.2d 917, 920 (10th

Cir. 1971). Indeed, at least one other appellate court recognizes:

           When a jury has no sentencing role, providing sentencing information invites
           jurors to ponder matters that are not within their province, distracts them from
           their factfinding responsibilities, and creates a strong possibility of confusion.
           . . . Indeed, the only possible purpose that would be served by informing jurors of
           the mandatory sentence would be to invite jury nullification of the law.

United States v. Johnson, 62 F.3d 849, 850-51 (6th Cir. 1995).

           Based on these legal standards, the United States respectfully requests that this Court

issue a pretrial ruling prohibiting Defendant from offering evidence of, mentioning, or otherwise

putting forth, in any manner, in the jury's presence, any evidence or statements regarding

Defendant’s potential punishment in this case, including the maximum sentences authorized by

statute.

           Defendant’s attorney, Sam Winder, has indicated he and his client do not oppose this

motion.

           WHEREFORE, the United States’ motion should be granted.



                                                         Respectfully Submitted,

                                                         JOHN C. ANDERSON
                                                         United States Attorney


                                                         _/s/____________________________
                                                         HOLLAND S. KASTRIN
                                                         SEAN J. SULLIVAN
                                                         Assistant United States Attorneys

                                                    3
         Case 1:17-cr-02558-MV Document 29 Filed 10/25/18 Page 4 of 4




                             CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on the 25th day of October, 2018, I filed the foregoing
pleading electronically through the CM/ECF system, and served counsel of record with
this pleading by email.
                                             SEAN J. SULLIVAN
                                             Assistant United States Attorney




                                         4
